        4:11-cr-03087-JMG-CRZ               Doc # 261     Filed: 05/02/13       Page 1 of 1 - Page ID # 720


                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEBRASKA
Denise M. Lucks                                 OFFICE OF THE CLERK                                  M. Therese Bollerup
Clerk of Court                                   www.ned.uscourts.gov                                 Chief Deputy Clerk



        TO:              The Honorable Senior Judge Richard G. Kopf

        FROM:            Clerk, U.S. District Court
                         Abby Ayodele

        DATE:            May 2, 2013

        SUBJECT:         4:11cr3087 - USA v. Guy E. Allen

        A party, who has been given permission to proceed in forma pauperis or who is financially unable
        to obtain an adequate defense in a criminal case, has filed a notice of appeal. Pursuant to the third
        paragraph of FRAP 24(a), a party may proceed on appeal in forma pauperis without further
        authorization unless the district judge certifies that the appeal is not taken in good faith or finds that
        the party is otherwise not entitled to proceed on appeal in forma pauperis. The district judge shall
        state in writing the reasons for such a certification or finding.

        Please advise the clerk's office of how you intend to proceed so that we may process this appeal:

                  X      No order will be entered in this direct criminal appeal, and the party is
                         permitted to proceed on appeal in forma pauperis.
                         An order will be entered finding that the party is not entitled to proceed in
                         forma pauperis.
                         An order will be entered, and the party is permitted to proceed on appeal in
                         forma pauperis.
                         An order will be entered in this § 2254 or § 2255 case regarding certificate
                         of appealability.

        DATED this 2nd day of May, 2013.

                                                        s/Richard G. Kopf
                                                        Senior United States District Judge

                              Additional Requirement for State Habeas or § 2255 Cases

        Pursuant to Rule 22(b) of the Federal Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
        district judge who rendered the judgment shall either issue a certificate of appealability or state the
        reasons why such a certificate should not be issued.

        Transmission of the notice of appeal to the Court of Appeals will be delayed until this court rules
        on the party's in forma pauperis status and the certificate of appealability.


        Approved Date:   01/25/08                              Forms-Appeal-Memo_IFP_Prisoner_to_Judge_Criminal



        111 South 18th Plaza, Suite 1152                                       100 Centennial M all North, Room 593
        Omaha, NE 68102-1322                                                               Lincoln, NE 68508-3803
        (402) 661-7350                                                                               (402) 437-1900
        Fax: (402) 661-7387                                                                     Fax: (402) 437-1911
        Toll Free: (866) 220-4381                                                         Toll Free: (866) 220-4379
